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             Exhibit 1
                            Case 3:10-cv-30116-RWZ Document 1-1 Filed 06/09/10 Page 2 of 9
                                      TO PLAINTIFF'S ATTORNY: PLEASE CIRCLE TYPE OF ACTION INVOLVED:
                                      TORT - MOTOR VEHICLE TORT - CON:RACT - EQUITABLE RELIEF - OTHER



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                                                    COMMONWEALTH OF MASSACHUSETTS
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C'           'HAMPDEN, 55.                                                                                       SUPERIOR COURT
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 ;: d                                                                            , PLAINTIFF(S)
4- ~           Transplant Associ ares. Inc
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                                                                                                                      .
                                                                                                                          SUMONS
i-~ .,                                         v.
.~ '"
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               GE Healthcare Strategic
 ~S
 i: 0          Sourcing Corporati on                                             , DEFENDANT(S)
 o Q.
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;S ~                                                                                                                                    GE Healthcare Strategic
 i- CI                                                                                  To the above named defendant: Sourcing Corporation
~
CI '".~                You are hereby summoned and required to serve upon
g~                     Dawn    D. McDonald, Esquire , plåintifts attom~y, whose address is
..o :.d       1380 Main St., Springfield, MA . Ol103 , an answer to the cOIlplaint which is herewith served upon
t:;j ...
     't                                                              this summons upon you, exclu~ive of           you fail to do
                                                                                                                          the day-of        service. If
             you, within 20 days after service of
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             . so, judgment by default will be taken against you for the relief demanded in the complait. You are also
.S ~
 ;: CI        required to file your answer  to the complaiit in the offce of the Clerk of this court at Springfield either before
~ æ.          service upon the 'plaintiff s attorney or within a reasonable time thereafer.
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                  FORM    No.   1
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                                COMMONWEALTH OF MASSACHUSETTS
                                        THE TRIAL COURT
                                  SUPERIOR COURT DEPARTMENT

 Hampden, ss.                                                     Civil Action No.:
 WESTERN NEW ENGLAND RENAL & )
 TRANSPLANT ASSOCIATES, P.C., )
                               Plaintiff )
                                                      )
 v.                                                   )
                                                      )
 GE HEALTHCARE STRATEGIC                           )
 SOURCING CORPORA nON,                             )
                Defendant                          )
                                                  )

                              COMPLAINT AND DEMAND FOR JURY TRIAL

                                                 PARTIES
 1. The Plaintiff, Western New England Renal & Transplant Associates, P.C. (hereinafter


       "WNERT A"), is a Massachusetts Professional Corporation with a principal place of

       business at 300 Birnie Avenue, Springfield, Hampden County, Massachusetts.

2. The Defendant GE Healthcare Strategic Sourcing Corporation (hereinafter "GE"), is a

       V ermont Corporation registered to do business in the Commonwealth with a registered

       agent for service of      process at 155 Federal Street, Suite 700, Boston, Massachusetts.

                                                FACTS

3. WNERTA and GE were parties to a Service Agreement (hereinafer "Agreement"),

      entered into on or about September 1, 2005 whereby GE was to provide billng services

      to the physicians and physician group practices of WNERTA.

4. The Agreement provided that GE's obligations included, but were not limited to the

      following: "Billng Service shall be responsible for developing and implementing biling

      and accounts receivable management systems for the Practice. This wil include:


                                                          1
               Case 3:10-cv-30116-RWZ Document 1-1 Filed 06/09/10 Page 4 of 9




             corresponding with all third pary payors; collecting payments from all third part payors

            and patients for services provided by the practice to patients; and entering Data Elements

            into the Biling System."

 5. GE was to bil third pary payors and patients on a weekly basis and within one (1) week

            of receipt of charge information from WNER T A.

 6. GE was to use commercially reasonable efforts to collect amounts due promptly from

            applicable payors whether they be patient or third pary payors.

7. GE was to maintain biling records in an acceptable and readily accessible format and

            make the records available to WNERTA upon request.

8. GE failed to perform as required under the Agreement. Its failures include, but are not

           limited to: failing to enter charges, inconsistency in entering charges, failure to collect

           accounts receivable, and failing to "work" unpaid accounts receivable.

9. GE's breach significantly reduced WNRTA's cash flow causing it signficant har.

10. Due to this failed performance, WNERTA put GE on notice pursuant to the Agreement


           and the paries had two meetings during April and August of2007 to discuss GE's failure

           to perform as required under the Agreement.

11. At the April and August meetings, GE advised WNERTA that it was "committed to


           improving the service delivered to you through our GEHC Strategic Sourcing operation"

           and fuher included a guarantee of cash flow by providing interest -free loans to

           WNERTA.

12. GE never followed through with its commitment to improve service or to provide

          interest-free loans and its poor service continued.

13. On or about March 6,2008 WNRTA sent GE Notice of                   Termination of   the Agreement.



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 14. Thereafter, WNERTA requested it's Data Elements which was property of WNERT A

       and GE was obligated to provide upon termination of                   the Agreement in a "logical" and

       "machine readable" format. GE never provided WNERTA with the information that it

       needed in order to take over its own biling from GE. The information that GE provided

       was useless. As a result, WNERTA could not begin collecting its accounts receivable

       once it took over the biling from GE. WNR T A suffered severe monetary losses as a

       result.

15. WNRTA had to take extreme measures in order to attempt to mitigate its damages as a

       result ofGE's failure to provide it with this critical billng information. Among other

       things, WNERTA had to: 1) hire people to manually input patient demographic

       information that should have been transferred from GE; 2) Hire a Renal Biling Specialist

       to re-bil "Procrit" patients; 3) they had to re-bil all inappropriately submitted repeat

       angioplasty claims; 4) go to third par payors such as Medicare to request records to try

       to recoup some of the lost charges; and 5) the doctors have spent exorbitant amounts of

      time on biling issues instead of patient care and surgery.

16. From March 6, 2008 though October 8,2009, WNERTA has made repeated demands for

      GE to tu over to it "its biling records in an acceptable and readily accessible format,"

      including, but not limited to Patient Ledgers. GE has failed and refused to comply in

      violation of the Agreement.



                                                             COUNT       I


                                                   (Breach of Contract)

17. The Plaitiff WNERT A repeats and realleges paragraphs 1 through 16 supra as if

      originally set forth herein and fuher alleges the following:


                                                                     3
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 18. By its conduct as set forth herein, the Defendant GE breached the Agreement with

        WNERTA.

 19. WNRTA was damaged by GE's breach.
        WHEREFORE, the PlaintiffWNRTA demands that the cour award it                                 judgment against

the Defendant, assess damages, and award them to the Plaintiff, together with interest from the

date of the Complaint, costs and counsel fees.



                                                              COUNT          II


                        (Breach of the Covenant of Good Faith and Fair Dealing)
20. The PlaintiffWNRTA repeats and realleges paragraphs 1 through 19 supra, as if

       originally set forth herein.

21. The contract caries with it an implied covenant of good faith and fair dealing.

22. GE's conduct and actions in breaching the contract as set forth herein, were undertaken in

       bad faith and constitute a violation of                    the implied covenant of good faith and fair dealing.

23. As a direct and proximate. result, WNRT A has sufered and continues to sufer


       damages.

       WHEREFORE, the Plaintiff WNERTA demands judgment for breach of the implied

covenant of good faith and fair dealing, together with interest, costs, attorney's fees and such

other and furter relief as this court deems just and proper.



                                                             COUNT         III


                                        (Violation of M.G.L. c. 93A, §§ 2, 11)

24. The PlaintiffWNERTA repeats and realleges paragraphs 1 through 23 supra, as if

       originally set fort herein.



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 25. GE has engaged in unfair and deceptive acts or practices proscribed by M.G.L. c. 93A,

        §§2, 11, and the Attorney General's Regulations promulgated thereunder. As a result,

        WNR T A has sustained and continues to sustain damages.

 26. GE has employed the following unfair and deceptive acts or practices in trade or

        commerce against WNRTA, each and everyone of                                which standing alone and/or

       together, constitutes a violation ofM.G.L. c. 93A and each and everyone of                         which is

       alleged as a separate and distinct violation ofM.G.L. c. 93A:

             a. GE breached the contract.

             b. GE breached the implied covenant of good faith and fair dealing.

             c. GE failed enter charges;

             d. GE was inconsistent in entering charges;

            e. GE failed to collect accounts receivable;

            f. GE failed to "work" unpaid accounts receivable;


            g. GE failed to maintain biling records in an acceptable and readily accessible

                  format and make the records available to WNERTA upon request.

            h. GE failed to provid WNER TA with the information that it needed in order to take

                  over its own biling from GE.

27. GE's conduct as set forth hereinabove was knowing and wilful conduct within the


       meaning ofM.G.L. c. 93A.

28. As a direct and proximate result of GE's violations ofM.G.L. c. 93A, §§ 2, 11,

       WNER T A has suffered and continues to suffer damages.




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           WHEREFORE, 'WRTA demands judgment for violations of c. 93A, §§ 2, 11 as

  follows:

                   1. Monetary damages;

                  ii. Treble damages for GE's wilful and knowing violations of c. 93A;

                  iii. Attorney's fees, interest and costs; and


                  iv. Such other and further relief as ths Cour deems just and proper.



 PLAINTIFF DEMANS A JURY TRI ON ALL COUNTS SO TRIABLE.



                                                             The Plaintiff
                                                             WESTERN NEW ENGLAND RENAL
                                                             AND TRANSPLANT ASSOCIATES, P.e.

                                                             By its Attorney,




Dated: May 17,2010
                                                                          A / rifl
                                                              awn D. McDonald, Esq. BBO#6 256
                                                             Cooley Shrair, P.C.
                                                             1380 Main Street, 5th FL.
                                                            Springfield, MA 01103
                                                            Tel: 413-781-0750; Fax: 413-733-3042
                                                            dmcdonald(icooleyshrair.com




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                                                                              Trial Court of Massachusetts
  CIVIL ACTION COVER SHEET                                                SUPERIOR COURT DEPARTMENT
                                                                               County: HAMPDEN
 PLAINTIFF(S)                                                                              DEFENDANT(S)

  WESTERN NEW ENGLAND RENAL & TRANSPLANT ASSOCIATES, P.C. GE HEALTHCARE STRATEGIC SOURCING CORPORATION

 ATTORNEY, FIRM NAME, ADDRESS AND TELEPHONE ATTORNEY (if known)
 DAWN D. MCDONALD, ESQUIRE - COOLEY, SHRAIR P.C.
 1360 Main Street, 5th Fir. - Springfield, MA 01103 - 413-761-0750; 413-733-
 3042 (fax)
 Board of Bar Overseers Number 647256
                                                                  Origin code and track designation
 Place an x in one box only:
 l' 1. F01 Original Complaint 0 4. F04 District Court Appeal c. 231, s. 97 & 104 (After trial) (X)
 o 2. F02 Removal to Sup. Ct. C. 231, s. 104 0 5. F05 Reactivated after rescnpt; relief from judgment!
          (Before trial) (F) Order (Mass. R. Civ. P. 60) (X)
 o 3. F03 Retransfer to Sup. Ct. C. 231, s. 102C (X) 0 6. E10 Summary Process Appeal (X)
                                             TYPE OF ACTION AND TRACK DESIGNATION (See reverse side)
    CODE NO. TYPE OF ACTION (specify) TRACK IS THIS A JURY CASE?
    A99                     Seivices Contract                               (F)                 ( X ) Yes               ) No
 The following is a full, itemized and detailed statement of the facts on which plaintiff relies to determine
 money damages. For this form, disregard double or treble damage claims; indicate single damages only.
                                                                           TORT        CLAIMS

                                                    (Attach additional sheets as necessary)
A. Documented medical expenses to date:
              1. Total hospital expenses................................................ .................................... .............             $    0.00
            2. Total Doctor expenses...... ... ...... ............ ... ............ ............ ............ ... ... .................. ... ....       $    0.00
            3. Total chiropractic expenses...... ... ...... ......... ...... ......... ..................... ......... ... ... ...... ...... ...        $    0.00
            4. Total physical therapy expenses...... ..............................................................................                     $    0.00
            5. Total other expenses...... ... ... ... ... ......... ...... ...... ...... ... ... ............... ...... ......... ............ ......   $    0.00
                                                                                                                                      Subtotal          $    0.00
B. Documented lost wages and compensation to date................................. .....................................                                $    0.00
C. Documented property damages to date...... ... ... ..................... ............ ......... ...... ... ... ...... .. .............                $    0.00
D. Reasonable anticipated future medical and hospital expenses... ......... ............... ......... ... ...................                           $    0.00
E. Reasonable anticipaged lost wages... ... ... ...... ...... ... ... ... ... ... ......... ...... ... ... ...... ... ... ... ... '" ............       $    0.00
F. Other documented items of damages (describe):
                                                                                                                                                        $    0.00'
G. Brief description of plaintiffs injury, including nature and extent of injury (describe):


                                                                                                                                                        $   0.00
                                                                                                                                        TOTAL           $   0.00
                                                               CONTRACT CLAIMS
                                                      (Attach additional sheets as necessary)


em. '
Provide a detailed description of c1aim(s): Defendant breached its contract with the Plaintiff by, inter alia, failng to enter
charges, failng to collect accounts receivables, failng to provide biling records in an acceptable and readily accessible format;



                                                                                                                                        TOTAL $ 4,000,000.00 +/-
PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PENDING IN THE SUPERIOR COURT DEPARTMENT:


"i hereby certify that I have complied with the requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on
Dispute Resolution (SJC Rule 1 :18) requiring that I provide my clients with information about court-connected dispute
resolution services and discuss with them the advantages and disadvantages of various methods."
Signature of Attorney of Record DATE: May 17, 2010
